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PRICE LAW GROUP, APC
G. Thornas Martin 111 (SBN 218456) 2613 UEC 26 gm mg 2|
15760 Ventura Boulevard, Suite 1100 _ \ F`__ m wsm
Encino, California 91436 f ` ({ >\)| ` z 316§§§§,`5[§§(§;?`0;¢¢..1:!=
'relephon@; 818.907.2030 10 0 000ng
}Facsirnile: 818.205.3730 sw_.f ' `°“‘
tom@plglawi`zrm.com
Attorney for Plaintiff
MARIA CLHWNA

UNITED STATES DISTRICT COUR'I`
CENTRAL DISTRICT OF CALIFORNIA

 

 

 

11/114:‘<1[1 CLHWNA, an individual, case NO.; 319-05 63 *' -)@W~UD® (1[
Plam“ff’ COMPLAINT ANI) DEMAND FOR
vS. JURY TRIAL FOR vloLATIoNS
OF:
ONE_MAIN FINANCIAL» INC-» 0 1. THE ROSENTHAL FAIR DEBT
forelgn corporat10n; and DOES 1 to 10, COLLECTION PRACTICES
1001“01‘/0» ACT [CAL. Crv. Co;oE § 1788]
Defendant($).
2. THE TELEPHONE CONSUMER
PROTECTION ACT
[4'7 U.S.C. § 2271
COMPLAINT FOR DAMAGES
1. INTRODUCTION
1. Maria Clern@na (“Plaintiff”) brings this action to secure redress from

OneMain Financial, Inc. (“Defendant”) for Violations <)f the Telephone Consumer
Protection Act (“TCPA”), 47 U.S.C. § 227 and the Rosenthal Fair Debt
Collection Practices Act (“RFDCPA”), CAL. CIV. CODE § 1788. The TCPA is a

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COMPLAINT FOR DAMAGES

 

 

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federal statute that broadly regulates the use of automated telephone equipment
Arnong other things, the TCPA prohibits certain unsolicited marketing calls,
restricts the use of automatic dialers or prerecorded messages, and delegates
rulemaking authority to the Federal Conirnunications Cornrnission (“FCC”), The
RFDCPA prohibits creditors and debt collectors from engaging in abusive,
deceptive and unfair practices in connection With the collection of consumer
debts
II. JURIS})ICTION AN}) VENUE

2. Jurisdiction in this Court is proper pursuant to 28 U.S.C. § 1331 as
Plaintiff’ s claims arise under the laws of the United States. Jurisdiction in this
Court is also proper pursuant to 28 U.S.C. § 1367 as Plaintiff’ s RPDCPA claim is

so related to Plaintifii s TCP.A claim that-they form part of the same -case~er

controversy under Article lll of the United States Constitution.

3. Venue is proper in this District pursuant to 28 U.S.C. § l39l(b)
because the acts and transactions alleged in this Cornplaint occurred here,
Plaintit`f resides here, and Deferldant transacts business here.

III. PARTIES

4. Plaintiff is an individual, residing in Buena Parl<, Orange County,
California 90620. Plaintiff is a natural person from Whorn a debt collector seeks
to collect a consumer debt which is due and owing er alleged to be due and
owing from such person. 'l`hns, Plaintifl` is a “debtor” as defined by the
RFDCPA, CAL. CIV. Conn § 1788.2(1'1).

5. Defendant is a foreign corporation, registered under the laws of the
State of Maryland. Upon information and belief, Defendant’s principal place of
business is 300 St. Paul Place, Baltirnore, l\/laryland 21202.

6. In the ordinary course of business, regalarly, on behalf of itself or
others, Defendant engages in debt collection and thus, Defendant is a "debt
collector" as defined by the RFDCPA CAL. CIV. CODE §1788.2. l:)efendant

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COMPLAINT FOR DAMAGES

 

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regularly engages in the collection of debt by telephone in several states
including, Calit`ornia.

7. The true names and capacities, whether individual, corporate, or in
any other forrn, of Det`endants DOES l through 10, inclusive, and each of them,
are unknown to Plaintiff, who therefore sues them by such fictitious names
Plaintiff will seek leave to amend this Cornplaint to show the true names and
capacities of DOES l through 10 should they be discovered

IV. FACTUAL ALLEGA'I`IONS

8. Within one year prior to the filing of this action, Defendant contacted
Plaintit`f to collect consumer loan (“alleged debt”). Defendant identities the
alleged debt by account number 050172018641 1.

~ 9. The alleged debt is~.rnoney-, property or their-equivalent, due~or--
owing or alleged to be due or owing from a natural person by reason of a
consumer credit transaction, which qualities as a "consumer debt," as defined by
RF})CPA, CAL. Crv. ConE § 1`788.2(1).

10. At all times relevant to this action, Defendant owned, operated
and/or controlled telephone numbers 714»441~1296, 866~921-2342, 888-202-
1333, and 888~921-7211. At all times relevant to this action, Del`endant called
Plaintiff from, but not limited to, telephone numbers 714-441-1296, 866-921-
2342, 888-202-1333, and 888-921-7211.

11. Within one year prior to the filing of this action, Det`endant
constantly and continuously called Plaintiff at, but not limited to, Plaintiff’ s
cellular telephone number 562~713-4444 and Plaintii:`f’ s place of employment
number 562-627~7839.

12. Within one year prior to the filing of this action, Defendant called
Plaintiff at Plaintifl" s place of employment Plaintii`f answered the telephone and
spoke with a representative of Defendant who identified herself as “l\/larisol.”

During this conversation, Piaintit`f notitied Defendant that Plaintii`t` was not

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COMPLAINT FOR DAMAGES

 

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permitted to accept personal calls at work. During this conversation, requested
that Defendant cease calling Plaintil`i` at Plaintit`f’ s place of employment During
this conversation, Defendant’s representative “Marisol” told Plaintii`f that
Defendant would keep calling Plaintiff at work and that Det`endant would do what
it needed to do.

13. Within one year prior to the filing of this action, l)et`endant called
Plaintit`f at Plaintift’ s place of employment after Plaintiff requested Defendant
cease calling Plaintiff at Plaintift’ s place of employment

14. Within one year prior to the filing of this action, Defendant called
Plaintift` at Plaintift’ s cellular telephone Plaintift` answered the telephone and
spoke with a representative ot` Det`endant. During this conversation, Plaintiff
requested that -Defendant~ cease calling ~Plaintit`t` at Plain~tift’ s cellular telephone-

lS. Within one year prior to the filing of this action, Defendant called
Plaintil`f at Plaintit`l’ s cellular telephone after Plaintiff requested Dei"endant cease
calling Plaintiff at Plaintili`l" s cellular telephone

l6. On or ab'out, August 6, 2013, Plaintiff requested in writing that
Defendant cease calling Plaintit`f at Plaintif?s place of employment

17. Subsequent to August 6, 2013, i)efendant called Plaintiff at
Plaintiff’s place of employment

18. On or about, August 23, 20l3, Plaintiff requested in writing that
Defendant cease calling Plaintiff at Plaintift’ s place of employment

19. Subsequent to August 23, 2013, Defendant called Plaintit`f at
Plaintiff’s place of employment

20. On or about, September 4, 2013, Plaintit`f requested in writing that
Defendant cease calling Plaintit`t` at Plaintist place of employment

21. Subsequent to Septernber 4, 2013, Defendant called Plaintiff at

Plaintit`f’s place of employment

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COMPLAINT FOR DAMAGES

 

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22. On or about, Septernber 27, 2013, Defendant received written
notification that Plaintiff was represented by an attorney in this correspondence,
Defendant was requested to cease contacting Plaintiff. ln this correspondence,
Defendant was requested to direct all future correspondence regarding .Plaintiff 1 _\
and Plaintif`f’ s account with Defendant to Plaintiff’ s attorney in this
correspondence, Defendant was provided with Plaintiff’s attorney’s contact
information

23. Subseqnent to Septernber 27, 2013, Defendant contacted Plaintiff.

24. On or about, November 4, 2013, Defendant received written
notification that Plaintiff was represented by an attorney ln this correspondence,
Defendant was requested to cease calling Plaintiff.

1 25. Subsequent~to November 45 201-3., Defendant called Plaintif`£ .,

26. Within one year prior to the filing of this action, Defendant contacted
Plaintiff after Defendant was notified in writing that Plaintiff was represented by
an attorney.

27. Within one year prior to the filing of this action, Defendant contacted
Plaintiff after Plaintiff’s place of employment after iDefendant was notified
Plaintiff’ s employer prohibited such communications Within one year prior to
the filing of this action, Defendant contacted Plaintiff after Plaintiff’ s place of
employment after Plaintiff` s requested that Defendant cease calling Plaintiff at
Plaintiff s place of employment. Within one year prior to the filing of this action,
Defendant contacted Plaintiff after Plaintiff’ s place of employment after
Plaintiff’ s requested in writing that Defendant cease calling Plaintiff at Plaintiff’ s
place of employment

28. Within one year prior to the filing of this action, Defendant contacted
Plaintiff after Plaintiff requested in writing that Plaintiff wanted Defendant to

cease communicating with Plaintiff.

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COMPLAINT FOR DAi\/IAGES

 

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29. Defendant’s conduct as alleged herein was done to harass, oppress,
or abuse Plaintiff.

30. Within one year prior to the filing of this action, Defendant caused
Plaintift’s telephone-to ring or engaged Plai.ntiff in telephone conversations
repeatedly

31. Within one year prior to the filing of this action, Defendant
repeatedly called Plaintiff multiple times over the course of one day. For
example, on or about, but not limited to October lO, 2013, Defendant called
Plaintiff no less than seven (7) times over the course of one day.

32. Defendant’s conduct as alleged herein amounts to an unfair or
unconscionable means to collect or attempt to collect the alleged debt.

- 33;- At-all times relevant to this actien,-\while conducting business in
California, Defendant has been subject to, and required to abide by, the laws of
the United States, which included the TCPA and its related regulations that are set
forth at 47 C.F.R. § 64.1200 (“TCPA Regulations”), as well as the opinions
regulations and orders issued by the courts and the FCC implementing
interpreting and enforcing the TCPA and the TCPA regulations

34. At all times relevant to this action, Defendant owned, operated
and/or controlled an “automatic telephone dialing system” as defined by TCPA
47 U.S.C. § 227(a)(l) that originated, routed and/or terminated
telecommunications

35. Within four years prior to the filing of this action, Defendant called
Plaintit`f at Plaintifi" s cellular telephone using an artificial prerecorded voice or
using equipment which has the capacity to store or produce telephone numbers to
be called, using random or sequential number generator and to dial such numbers
also known as an “autornatic telephone dialing system” as defined by TCPA 47
U.S.C. § 227(a)(l)(A) and (B).

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COl\/[PLAINT FOR DAMAGES

 

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00 "--3 O`\ LJ"¢ -l>-»» UJ i\) "“" C'D \O 00 ---} G'\ LJ`I -ld b~) l\.) ’-‘ O

 

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36. Defendant never received Plaintiff` s consent to call Plaintift` on
Plaintif`f’ s cellular telephone using an “automatic telephone dialing system” or an
c‘artificial or prerecorded voice” as defined in 47 U.S.C. § 227 (a)(l).

37. l Even.,assumingl)efendant received Plaintit`f’ s consent to call
Plaintif`f on Plaintist cellular telephone using an “autornatic telephone dialing
system” or an “artificial or prerecorded voice” as defined in 47 U.S.C. § 227
(a)(l), this consent was revoked when Plaintiff orally requested Defendant cease
calling Plaintiff` on Plaintit`f" s cellular telephone "l`his consent was further
revoked on or about, hut not limited to, August 6, 2013, August 23, 2013,
September 4, 2013, Septem‘oer 27, 20l3 and l\iovernber 4, 20l3, when Plaintiff -

requested in writing that Defendant cease contacting Plaintiff.

had an “established business relationship” as defined by 47 U.S.C. § 227(a)(2).

39. Upon information and belief, Defendant is not a tax exempt
nonprofit organization l

40. Defendant willfully violated the TCPA when it contacted Plaintit`f”s
cellular telephone using an “automatic telephone dialing system” or using an
“artificial or prerecorded voice.” Defendant’s conduct was willful because
Plaintif`t` requested no less than one (1) time orally and no less than five (5) times
in writing that Def`endant cease calling Plaintif`f.

41. Upon information and belief, within four years prior to the filing of
this acticn, Defendant willfully and/or knowingly contacted Plaintit`f no less than
twenty»~two (22) times at Plaintiff’ s cellular telephone using an “automatic
telephone dialing system” or using an c‘artificial or prerecorded voice” in
violation of the TCPA.

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COMPLAINT FOR DAMAGES

 

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38-.-- .- » Upon information~and belief, at~no time have P~laint_iff` and De.fen.dant. . l .

 

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V. FIRST CAUSE OF ACTION
(Violations of the RFDCPA, CAL. Crv. Coi)s § 1788)

42. Plaintiff incorporates by reference all of the above paragraphs of this
Complaint as though fully stated herein \..

43. Defendant violated the RFDCPA. Defendant’s violations include
but are not limited to, the following:

(a) Defendant violated CAL. CIV. CODE § l788.l l(d) by causing a
telephone to ring repeatedly or continuously to annoy the person called; and

(b) Defendant violated CAL. CIV. CODE § 1788.1 l(e) by communicating
by telephone or in person, with the debtor with such frequency as to be

unreasonable and to constitute an harassment to the debtor under the

4 circumstances; -and ~

(c) l)efendant violated CAL. CIV. CODE § 1788. l4(c) by communicating
with a debtor, other than statements of account, after the debt collector has been
notified in writing that the debtor is represented by an attorney; and

(d) Defendant violated CAL. CIV. CODE § 1788. l7 by collecting or
attempting to collect a consumer debt without complying with the provisions of
Sections l692b to 16925', inclusive, of . . . Title 15 of the United States Co_de (Fair
Debt Collection Practices Act).

` (i) Defendant violated CAL. CIV. CODE § l788.l7 by violating 15
U.S.C. § l6920(a)(2) by communicating with a consumer if the debt collector
knows the consumer is represented by an attorney with respect to such debt and
has knowledge of, or can readily ascertain, such attorney’s name and address,
unless the attorney fails to respond within a reasonable period of time to a
communication from the debt collector or unless the attorney consents to direct
communication with the consumer; and

(ii) Defendant violated CAL. Clv. CODE § 1788.17 by violating 15

U.S.C. § l692c(a)(3) by communicating with a consumer at the consumer’s place

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COMPLAINT FOR. DAMAGES

 

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of employment if the debt collector knows or has reason to know that the
consumer’s employer prohibits the consumer from receiving such
communication; and
-. t (iii) Defendant violated CAL..CW. CODE § 1788.17 by violating l5

U.S.C. § 1692c(c) by communicating with a consumer in connection with the
collection of any debt after the consumer notifies the debt collector in writing that
the consumer refuses to pay a debt or that the consumer wishes the debt collector
to cease further communication with the consumer; and

(iv) Defendant violated CAL. CIV. CODE § l788.l7 by violating 15
U.S.C. § 1692d by engaging in conduct, the natural consequence of which is to
harass, oppress or abuse any person in connection with the collection of the
alleged debt; and 7 7 . 77 77 - 7 ,7

(v) Defendant violated CAL. CIV. CODE § 1788.17 by violating 15
U.S.C. § 1692d(5) by causing a telephone to ring or engaging any person in
telephone conversation repeatedly or continuously with intent to annoy, abuse, or
harass any person at the called number; and

(vi) Defendant violated CAL. CIV. CODE § 1788.l7 by violating 15
U.S.C. § l692f by using unfair or unconscionable means in connection with the
collection of an alleged debt.

44. Det`endant’s acts, as described above, were done intentionally with
the purpose of coercing Plaintiff to pay the alleged debt.

45. As a result of the foregoing violations of the RFDCPA, Defendant is
liable to Plaintift` for declaratory judgment that Defendant’s conduct violated the
RFDCPA, actual damages, statutory damages, and attorney’s fees and costs
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COMPLAINT FOR DAMAGES

 

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VI. SEC()ND CAUSE OF ACTION
(Violations of the TCPA, 47 U.S.C. § 227)

46. Plaintiff incorporates by reference all of the above paragraphs of
this Complaint, as though fully stated herein.

l 47. Defendant violated the TCPA. Defendant’s violations include, but
are not limited to the following:

(a) Within four years prior to the filing of this action, on no less than
twenty-two (22) occasions, Defendant violated TCPA 47 U.S.C. § 227
(b)(l)(A)(iii) which states in pertinent part, °‘It shall be unlawful for any person
within the United States . . . to make any call (other than a call rnade for

emergency purposes or made with the prior express consent of the called party)

-~»~» to any telephone number assigned to a . . . cellular telephone service . . . or any
service for which the called party is charged for the call.

(b) Upon information and belief, within four years prior to the filing of
this action, on no less than twenty»two (22) occasions, Defendant willfully and/or
knowingly contacted Plaintiff at Plaintiff’ s cellular telephone using an artificial
prerecorded voice or an automatic telephone dialing system and as such,
Defendant knowing and/or willfully violated the TCPA.

48. As a result of Defendant’s violations of47 U.S.C. § 227, Plaintiff is
entitled to an award of five hundred dollars ($500.00) in statutory damages, for
each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(]3). If the Court finds
that Defendant knowingly and/or willfully violated the TCPA, Plaintif`f is entitled
to an award of one thousand five hundred dollars ($1,500.00), for each and every
violation pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).

49. Plaintiff is also entitled to seek injunctive relief prohibiting such

conduct in the future
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COMPLAINT FOR DAMAGBS

 

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using any automatic telephone dialing system or an artificial or prerecorded voice .

 

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00 ‘---] CJ\ U'l ~P- £)J I\) '-* 0 \O 00 ‘---`.| O\ w did L)J i,‘-) »-‘ CD

 

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Case 8:13-cv-01999-ODW-AN Document 1 Filed 12/26/13 Page 11 of 18 Page |D #:

VII. PRAYER FOR RELIEF

WHEREFORE, Plaintiff respectfully requests that judgment be entered

against Defendant for the following:

(a) An injunction prohibiting Det`endant from contacting Plaintiff on

(b)
(C)

__ (a)r

(€)
(f)

(s)

(h)

Plaintii`f’ s cellular telephone using an automated d.ialing system
pursuant to 47 U.S.C. § 227(b)(3)(A); and

Actual damages pursuant to CAL. Crv. CODE § l788.30(a); and

As a result of l)efendant’s violations ot` 47 U.S.C. § 227(b)(1),
Plaintit`t` is entitled to and requests five hundred dollars ($500.00) in
statutory damages, for each and every violation, pursuant to 47
U.S.C. § 227(b)(3)(B); and

.As a result of Defendant’.s. willflil.and/or knowing violations ..ot` 47
U.S.C. § 227(b)(l), Plaintiff is entitled to and requests treble
damages, as provided by statute, up to one thousand five hundred
dollars ($1,500.00), for each and every violation pursuant to 47
U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(5)(3)(€); and
Statutory damages pursuant to CAL. CIV. CODE § 1788.30(b); and
Costs and reasonable attorney’s fees pursuant to CAL. CIV. CODE §
1788.30(0); and

Awarding Plaintift` any prejudgment and postjudgment interest as
may be allowed under the law; and

For such other and further relief as the Court may deem just and

proper.

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COMPLAINT FOR DAMAGES

 

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VIII. DEMAND FOR JURY TRIAL

-- Case 8:13-cv-01999-ODW-AN Document 1 Filed 12/26/13 Page 12 of 18 Page |D #:1

Dated: Decernber 19 2013

 

 

 

Please take notice that Plaintit`f demands a trial by jury in this action

RESPECTFULLY SUBMITTED,

PRICE LAW GRO

 
  

By: ‘ "

'~_

G. Thornas l\/Iartin, lIl`
Attomeyfor Plaz'nti]j"

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COMPLAINT FOR DAMAGES

 

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Case 8:13-cv-01999-ODW-AN Document 1 Filed 12/26/13 Page 13 of 18 Page |D #:19

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OP ASSIGNMEN'I` TO UNI'I`ED STATES ]UDGES

This case has been assigned to District ]udge Otis I). Wright II and the assigned
Magistrate ludge is Arthur Nalcazato

The case number on all documents filed With the Court should read as follows

SACVI3~»1999~ODW (ANX)

 

Pursuant to General Order 05»07 of the United States District Court for the Central District of

California, the Magistrate ludge has been designated to hear discovery related motions

All discovery related motions should be noticed on the calendar of the Magistrate Iudge.

Clerl<, U. S. I)istrict Court

 

 

 

December 26, 2013 By MDAVIS
Date Deputy Clerk
NOTICE 'I`O COUNSEL

A copy of this notice must be served with the summons and complaint on all defendants ( if a removal action is

filed, a copy of this notice must be served on all plaintijs).

Subsequent documents must be filed at the following location:

m Western Division [:| Southern Division [:| Bastern Division
312 N. Spring Street, G~8 411 West Fourth St., Ste 1053 3470 Twelfth Street, Roorn 134
Los Angeles, CA 90012 Santa Ana, CA 92701 Riverside, CA 92501

Failure to file at the proper location will result in your documents being returned to you.

 

CV»lS (08/13} NOTICE OF ASSIGNMENT 'I'O UNI’I`ED STATES ]UDGES

Case 8:13-cv-01999-ODW-AN _ Document 1 Filed 12/26/13 Page 1401c 18 Page |D #:20

'AG 440 (Rev. 12/09) Summons in a Civil Action

UNITED S'l`A’l`ES4 DISTRICT COURT

for the

 

Central District ot` Calit`ornia

MARlA Ci.Ei\/|ENA, an individual

 

Plaz'atij"

V.

ONEMAIN F|NANC|AL, lNC., a foreign corporation',
and DOES t to 10, inclusive,

as ram regs grr§»/aa%@sto falls

 

Dejlendan.t

SUMMONS IN A CIVIL ACTION

TOZ (Dej?zndant '.s' name and address)
ONEMA|N F|NANCZAL, |NC., a foreign corporation
300 St. Paui P|ace
Baltimore, Nlaryland 21202

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) -~ or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(Z) or (3) »~»-»~ you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintifi"s attorney,
whose name end address arer G. Thomas Martin, ltl, Esq. (ssN 218456)

PR|CE E.AW GROUF’, APC

15760 Veul;ura Blvd., Sulte 1100
Encino, CA 91436

T: (8'§8) 907-2030; ii': (866} 397»2030
tom@plglawfirm.com

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint
You also must file your answer or motion with the court

CLERK OF COURT

Date: DEC 25 ZUlS L@¢j/ 1514

 

 

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AO 440 (Rev. 12/09) Surnmons in a Civil Act'ion (Page 2)
Civil Action No.

PROOF OF SERV£CE
(Tkr’s section should not befilea' with the court unless required by Fed. R. Cr'v. P. 4 (U)

This summons for maine ofindividual and rata ifaay)

 

Was received by me on (dare)

CJ I personally served the summons on the individual at (place)

 

on (dare) ; or

 

ij I left the summons at die individnai’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (dare) , and mailed a copy to the individual’s last known address; or

 

ij I served the summons on (name ofindividaa!) , who is

 

designated by law to accept service of process on behaif of (name eforganizacion)

 

 

 

011 (a'a£e) ; or
ij § returned die summons unexecuted neeause ; or
l:l other (specify):
My fees are $ for travel and $ for services, for a total of $ G.GO .

I dee!are under penalty of perjury that this information is true.

Date:

 

Server ’s signature

 

Printed name and title

 

Se)'ver 's address

Additional information regarding attempted service, etc:

Case 8:13-cv-01939-ODW-AN Dg%ccdr(r:iglr_r_§ 1 Fi|g_glL%¥£TZR€_élT%F _E__>lp&__eoa._@"pf 18 Page |D #:22

 

NiTED STATES DIST T, CENT
Cl\lli. COVER SHEE?
|:l ) DEFENDANTS ( Check box if you are representing yourself |:] )

l. {a) PLAENT|FFS { Checl< box if you are representing yourself
...... /.__ _
`:’ ;'”“\`_) 531 `\._/

MAR|A CLEM§NA -_ ..-_z ‘i\___ ,/ ON§MNN § NANCEAL, |NC.,a foreign corporation; and DOES 1 to 10, inclusive

 

(b} Attorneys [FirmiNarne, Address and Telephone Nurnber. if you (b) Attorneys (Firm Narne, Address and Telephone Nurnber. if you
are representing yourself, provide same informa'riori.) are representing yourself, provide same information.)

G.Thomas Martin, iii {SBN 218¢§56)
PR|CE LAW GROUP, APC, (81 81907-2630
1576{) Veniura Bivd., Suite 1100, Encino, CA 91436

 

 

ll. BAS§S OF JURISD|CT§ON (Piac@ an )( in {)ne box gnfy,) I". ClTlZENSH¥P OF PR|NCIPAL PART¥ES'FO|' D§VE|’SEW CE\SES Orily
(Place an X in one box for plaintiff and one for defendant)
14 U.Sk Government 3. Federal Question [U.S. C§tizen OfThis Stat@ §§ 1 l[J:E§F1 l“COfD_O¥a‘€€_€i Oi_PiinClPa§ PlaC€-' HF 4 [[)§F 4
P|aintiff Governrnent Not a Party) °f Bu$mess m th'$ mate

Cit`lZEn OfAnOfli@l'$tat€ l:] 2 l:] 2 |ncorporatedand Principa|Piace m 5 [3 5

of Business in Another State
2, U.S. Government [:1 4. Diversity (lndicate Citizenship Citizen or Sui)ject cfa

Defendant ofPartiesioitemiii) F€>f€igr\ C<>W\irv m 3 g 3 Forelgn Natlon l:l 6 l:l 6

 

 

iV. OR!G|N (Plac:e an X in one box only.) 6 __________

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Proceeding l:l StateCourt l:l Appei|ate€ourt l:] Reopened l:l Di$tri€tlSPECifi'l l:l Lit§gatiqn

 

V. REQUESTED fN CONEPLA§NT: .|URY DEMAND: Ye$ [:l l\io {Checl< "Yes" Only if demanded in Compiairit.)

CLASS AC?|ON under F.R.CV.P. 23: :j Yes No [:§ MONEY DEMANDED IN COMPLA|NT: S according to proof
V§. CAUSE~O_F AC?ION;(Cite the U.S.-Civil Statute under which you are filing and \.ari:te-a.brie§ statement of cause Do not citejurisdictioria| statutes unless diversiiy.)

 

THE aoseNTH/\L rain DEBT cOLLECTlON PaACTlCES ACT §CAL. Civ. Cooe § 1783]; THE reL§PHON§ consumes PRoTECTioN ACT 147 U.S.C. § 2271
V¥l. NATURE OF SU]T (Place an X in one box only).

 

 

 

    

 

 

    
 
 
 
    

 
 
   

  

 
  

 

 
     
  
 
 

     
       

 

 

  

 

  
    
 

     

 

 

  

 

 

    
 

 

 

 

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C'u'-71 (09/13} ClV|L COVER SHEET Page’l 0f3

 

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UNlTED STATES DISTRICT COURT, CENTRAL DlSTRlCT OF CALIFORN|A
C¥VlL COVER SHEET

Vfil. VENUE: Your answers to the questions below wiil determine the division of the Court to which this case will most likely be initia§iy assigned This initial assignment
is subject to change, in accordance with the Court's General Orders, upon review by the Court of your Complaint Or Notice of Rernoval.

 

Qi.zestion A: Was this case removed from
state court?

§ Yes [;>:<:l No

lf"no, " go to Question B. if "yes," check-the
box to the right that applies, enter the
corresponding division in response to
Question D, belowl and skip to Section |X.

 

 

 

Los Arige§es Western

 

Ventura, Santa Barbara, or San Lois Obispo- We$ter_n

 

Orange 50uthern

 

Eastem

l:[il“_"ll:j

Riverside or San Bernardino

 

 

 

 

 

Question B: is the United States, or one o
its agencies o`r empioyees, a party to this
action?

 

 

 

§:| Yes No

        

 

 

 

 

 

ii `, .. .\ iii . . . . `_
if "no, " go to Question C. lf"yes," check the §:l LDS Ang€§€$ I:l l-OS An§l@l€§ W€S'fem
box to the fight t_h‘:at_ apl§"ies' enter the Ventura, Santa Barbara, or San Luis Ventura, Santa Barbara, or San Luis
corresponding division in response to E:i - l:§ . Westez'n

_ Obispo Obispo
Question D, below, and skip to Section lX.
[:] Orange [:§ Orange 50uthern
|:| Riverside or San Bemardino m Riverside or San Bernardino Eastern
§§ Other |::| Other Western

 

 

 

 

 

 

 

 

lncl'icate the location in which a
majority of plaintiffs reside:

 

indicate the location in which a
majority of defendants reside:

lndicate the location in which a
ma;'ority_of claims arose:

 

l]i:il:l

 

 

Ei:ic:i
non

imi:iz:i
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ciei:i

 

 

 

 

 

 

 

   
 

 

 

 

C.1. ls either of the following true? if so, check the one that applies: C.Z. is either of the following true? if so, check the one that applies:
2 or more answers in Column C ]:J 2 or more answers in Co§urnn D
i::i only 1 answer in Co|i.imn C and no answers in Co|un'in D [:i only 1 answer in Co§umn D and no answers in Colomn C
Your case wilt initially be assigned to the Your case will initially be assigned to the
SOUTHERN D|V|SION, EASTERN DlViSION.
Enrer "Southern" in response to Quest§on D, be¥ow. Enter"Eastern" in response to Question O, be§ow.
if none applies, answer question CZ to the right _} if none applies, go to the box beiow. sr

 

Your case will §nitia¥ly be assigned to the
WES"['§RN D§V|SEON.
Enter "Western" in response to Question D below.

 

 

 

 

 

 

 

 

 

Enter she initia§ division determined by Question A¢ B, or C above: -> SOUTH ERN

 

 

 

 

 

CV~TI {091'13) CW|L COVER SHEET Page 2 of 3

Case 8:13-cv-01999-ODW-AN Document 1 Filed 12/26/13 Page 18 of 18 Page |D #:24

UNETED STATES DISTR!CT COURT, CENTRAL DlSTRlCT OF CALIFORN|A

 

ClVlL COVER SHEET
l)({a). IDEN?lCAI. CASES: Has this action been pzeviousiy filed in this couz't and dis:‘ni$sedl remanded or closed? NO l:l YES
li yesr l§st case number(s):
i)({b). RELAT§D CASES: l-lave any cases been previousiy med in this Court that are related to the present case? NO m YES

lf yes. list case number(s):

 

Civi[ cases are deemed related lfa previously filed case and the present case:

(C§'iec§< all boxes that apply)

m A. Arise from the same or ciesely related transactionsf happenings, or events; or

I::§ B. Cail for determination of the same or substantially related or similar questions oflaw and fact; or

|:§ C. Far t>thezr reasons would entail substantial duplication of labor if beard by differentjudges; or

[:l D. invo§ve the same patent, trademark or copyrightx and one of the factors identified above in a, h or c also is present

 

X. SiGNATURE OF ATTORNEY
(OR SELF~REPRESENTED LlTlGANT}:

W`TQM M eATt-:: mms/2013
J'- MMMMM~MMWM

Notice to CounsellParties: “§“he CV-?i (15-44) C`rvil Cover Sheet and the information contained herein neither replace nor supplement the fiiing and service of pleadings or
other papers as requized by |avv, This farm, approved by the Jtidicial Conference of the United States in September 1974, is required puzsuant to Local Rule 3-1 is net filed
but is used by the Clerk of the Court for the purpose of statistics venue and initiating the civil docket sheep {For more detailed instructions see separate instructions sheet}.

 

 

Key to Statist§cal codes relating to Sociai Security Cases:

Nature of $ttit Code Abbre\tiation

861

862

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s _.iSubstantive Statement.nf Cause of Action _ _ _ .i _ i. _ . . . .. - _i.
A|l claims for health insurance benefits (N|edicare} under Title 18, Part A, of the Socia§ Security Act, as amended Also,
include c§airns by hospitals ski§led nursing facilities etc., for cenificat§on as ;:imviders of services under the pri:ig:;ran'iv
(42 U.S.C. 1935$?{b)}

A|l claims for "B!aci< Lung" benefits under Title 4, Part B, of the ?edera| Coai Nline Health and Safety Act of i969. (30 U.S.C.
923)

A|l claims filed by insured workers for disability insurance benefits under T§tle 2 of the Social Secutlty Act, as amended; plus
all claims filed for child‘s insurance benefits based on disabilityl {42 U.S.C. 405 (g))

A|l ciairns filed for widows or Widowers insurance benefits based on disability under Title 2 of the Sociaf Security Act, as
amended (42 U.S.C. 405 (g}}

All ciairns for supplemental security income payments based upon disability filed under T$t§e 16 of the Social Security .'Slctr as
amended

All c§ai:ns for retirement (old age) and survivors bene§ts under T§t[e 2 of the Social Security Act, as amended
(42 U.S.C. 405 (g))

 

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CNIL COVER SHEET Page 3 of 3

